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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA
                                 BATON ROUGE DIVISION

LATISHIA HARBOR,                              )
                                              )
                Plaintiff,                    )
                                              )       3:11-cv-00822-KDE-AC
       v.                                     )
                                              )
PINNACLE FINANCIAL GROUP, INC.                )
           Defendant.                         )

                                   VOLUNTARY DISMISSAL

       LATISHIA HARBOR (Plaintiff), by her attorney and pursuant to FRCP 41(a)(1)(A)

(Dismissal of Actions—Voluntary Dismissal By Plaintiff Without Court Order) voluntarily

dismisses, without prejudice, PINNACLE FINANCIAL GROUP, INC., (Defendant), in this case,

with all parties to bear their own costs.

                                              RESPECTFULLY SUBMITTED,

                                              By: /s/ Jonathan Hilbun
                                              Jonathan Hilbun
                                              LA SBN: 29248
                                              2404 Middlecoff Drive
                                              Gulfport, MS 39507
                                              Telephone:504.214.0459
                                              Email: jonathan.hilbun@gmail.com

                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2012, I electronically filed the foregoing with the Clerk of
the Court by using the CM/ECF System. A true and correct copy of said Motion was submitted by
US Mail to the following:

       Pinnacle Financial Group
       7825 Washington Avenue, Suite 310
       Minneapolis, MN 55439

                                                      By: /s/ Jonathan Hilbun
                                                      Jonathan Hilbun

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                                       VOLUNTARY DISMISSAL
